Case 1:25-cv-00361-JLH Document2 Filed 03/24/25 Page 1of 24 PagelD #: 7

In and for United States District Court of Delaware, Wilmington, DE

cae 29°36123

Joseph D Gilberti
Engineer in the $

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U.S. DISTRICT COURT
DISTRICT OF DELAWARE

BlackRock, Inc., United States President Donald J. Trump, George W. Bush, The Pentagon, Judge Donna
Marie Padar, United States Attorney General Pamela Jo Bondi, United States Congress, World Economic
Forum, World Bank Group (The International Bank for Reconstruction and Development (IBRD) and the
International Development Association (IDA)), New Development Bank (BRICS BANKS), James
Amschel Victor Rothschild, Nicholas David Rothschild, Lady Lynn Forester de Rothschild, “The Holy
See” (The Vatican City State), David Mayer de Rothschild, Archdiocese of Venice, Archdiocese of
Washington, Archdiocese of Wilmington, Wilmington City Council, National Football League (NFL),
National Basketball Association (NBA), Major League Baseball (MLB), National Association for Stock
Car Auto Racing (NASCAR), Mary Ross Agosta, Barron Trump, Attorney Ryan Snyder, Judge Stephen
Walker, Blackstone Inc., State Street Corporation, Morgan Stanley, Apollo Global Management Inc.,
Goldman Sachs Group Inc., JPMorgan Chase Bank National Association (JPMCB), JPMorgan Chase &
Co., Melania Trump, New York University, University of Washington, Delaware State University,
Goldey-Beacom College, Wilmington University, Delaware College of Art and Design, Lara Trump, US
Congressman Vern Buchanan, Vice President James David Vance, Eric Trump, Emma Gonzales, Ivanka
Trump, Andrew Rosin PA, Judge Hunter Carroll, Donaid Trump Jr., Marjorie Stoneman Douglas School,
Judge Omar A. Williams, Governor Gavin Newsom, Governor Kathy Hochul, Sheriff Scott Israel, Judge
James Dominguez, Judge Caroyin Delano, Town of Royal Palm Beach, Port Everglades, Judge James
Conrad, Judge Mark Wolfe, Palm Beach County Board of County Commissioners, Judge Kimberly
Carlton Bonner, Lee Pallardy, Broward County Board of County Commissioners, Thomas Howze,
National Sheriff's Association, Town of Royal Beach, Lee County Board of County Commissioners, City
of West Palm Beach, City of Boca Raton, City of Miami, Miami Port Authority, 12" Judicial Circuit of
Florida, 13" Judicial Circuit of Florida, Sheriff Chad Chronister, Sarasota County Board of County
Commissioners, Dade County Board of County Commissioners, Hillsborough County Board of County
Commissioners, South Florida Water Management District, Benderson Development, U.S. Congress,
Pennsylvania Department of Environmental Protection Agency, Delaware Department of Natural
Resources and Environmental Control (DNREC), Bankruptcy Trustee Luis Rivera, Edward J. DeBartolo,
Southwest Florida Water Management District, Tampa Central Command MacDill Ai Force Base,
Metropolitan Planning Council, Matt Gaetz, Richard Bruce (Dick) Cheney, Judge Thomas Krug, Central
Intelligence Agency (CIA), Jeff Bezos, Warren Buffet, Judge Maria Ruhl, Judge Don T. Hall, Judge James
Parker, South Florida Regional Planning Council, Judge Dana Moss, Judge George A. O'Toole Jr.,
Southwest Florida Regional Planning Council, Rockefeller Group International, inc., Judge McHugh,
Judge Darrin P. Gayles, Judge Jose E. Martinez, Judge Laura Taylor Swain, Rockefeller Capital
Management, State Attorney Ed Brodsky, Judge Juan Merchan, Treasure Coast Regional Planning
Council, Judge Charles Williams, Judge Thomas Barber, City of Cape Coral, City of Naples, City of Fort
Myers, Judge Geoffrey H. Gentile, Judge Martin Fein, Seminole Tribe Hard Rock Casino, Judge Sheri
Polster Chappell, Judge Elizabeth Scherer, City of Parkland, David Hogg, Judge Loren AliKhan, Manatee
County Board of County Commissioners, Town of Davy, Nikolas Cruz, Judge Martha Pacold, Sheriff
Carmine Marceno, Sheriff Kurt Hoffman, Florida Department of Environmental Protection, Greenberg
Traurig Law, Judge Ketanji Brown Jackson, Florida Department of Law Enforcement, Judge Liam O°
Grady, Federal Bureau of Investigation (FBI), Michael Waltz, Judge Madeline Cox Arleo, Elon Musk,
Senator Marco Rubio, Susie Wiles, Judge Donald M. Middlebrooks, Judge David S Leibowitz, Rudy

Petitioner(s), DEMAND FOR JURY TRIAL

Case 1:25-cv-00361-JLH Document2 Filed 03/24/25 Page 2 of 24 PagelD #: 8

Giuliani, Yale University, Ron DeSantis, Judge Aileen Cannon, Judge Aleta A. Trauger, Judge Donovan
W. Frank, Judge Shannon G. Elkins, Judge Kristi H. Johnson, Judge Donald W. Molloy, Judge Anne
Hwang, Rockefeller Financial Services, Harvard University, Ohio State University, Ariana Rockefeller,
Valerie Rockefeller, Archdiocese of Los Angeles, Archdiocese of Baltimore, State Attorney Thomas
Widen, Archdiocese of Philadelphia, Archdiocese of Miami, Archdiocese of New York, Pope Francis
Jorge Mario Bergoglio, Archdiocese of Newark, Archdiocese of Boston, Nancy Pelosi, Hillary Clinton,
William Jefferson (Bill) Clinton, Barrack Obama, Michelle Obama, Governor Josh Shapiro, Governor
Wes Moore, Florida State University, Kamala Harris, Tim Waltz, Philadelphia City Council, Pennsylvania
State Police, Christopher Shaw, Attorney General Ashley Moody, US Department of Transportation,
Department of Interior, Sheila Sanghvi, Mayor Eric Adams, Council of National Defense, New York City
Council, New York Port Authority, Washington Public Ports Association, Senator Rick Scott, United
States Geological Survey, The Washington Post, University of Miami, Cleveland City Council,
ExxonMobil, The Rockefeller Foundation, Scott Freyre, Environmental Protection Agency (EPA), Army
Corps of Engineers, Pennsylvania State University, Natural Resources Defense Council, The U_S.
Surgeon General, National Security Council, Department of State, Benderson Development, US National
Guard, Human Health and Services, Pete Hegseth, Kristi Noem, John Ratcliffe, Tulsi Gabbard, Lee
Zeldin, Elise Stefanik, Robert F. Kennedy Jr. , Doug Burgum, Doug Collins, Chris Wright, James Blair,
Taylor Budowich, Stephen Miller, Dan Scavino, Thomas Homan, Bill McGinley, Steven Cheung,
Karoline Leavitt, Will Scharf, Sergio Gor, Vivek Ramaswamy, Brendan Carr, Howard Lutnick, Linda
McMahon, Sean Duffy, Dean John Sauer, Todd Blanche, Steven Witkoff, Michael Huckabee, Marjorie
Taylor Greene, Wink News, Mosaic Fertilizer, Pfizer Pharmaceutical Industry Company, United Nations,
Bill Gates, Mark Zuckerberg, Canadian National Railway, CSX Transportation Inc., US Congressman
Byron Donalds, Attorney Alvin Bragg, AG Letitia James, Baltimore City Council, Archdiocese of
Indianapolis, Ney York Department of Environmental Protection (NYDEP), Judge Paul Diamond,
Department of Government Efficiency (DOGE), Archdiocese of Los Angeles, Archdiocese of San
Francisco, Washington State Department of Ecology, Washington City Council, Governor of Alabama,
Governor of Alaska, Governor of Arizona, Governor of Arkansas, Governor of California, Governor of
Colorado, Governor of Connecticut, Governor of Delaware, Governor of Florida, Governor of Georgia,
Governor of Hawaii, Governor of Idaho, Governor of Illinois, Governor of Indiana, Governor of Iowa,
Governor of Kansas, Governor of Kentucky, Governor of Louisianna, Governor of Maine, Governor of
Maryland, Governor of Massachusetts, Governor of Michigan, Governor of Minnesota, Governor of
Mississippi, Governor of Missouri, Governor of Montana, Governor of Nebraska, Governor of Nevada,
Governor of New Hampshire, Governor of New Jersey, Governor of New Mexico, Governor of New
York, Governor of North Carolina, Governor of North Dakota, Governor of Ohio, Governor of Oklahoma,
Governor of Oregon, Governor of Pennsylvania, Governor of Rhode Island, Governor of South Carolina,
Governor of South Dakota, Governor of Tennessee, Governor of Texas, Governor of Utah, Governor of
Vermont, Governor of Virginia, Governor of Washington, Governor of West Virginia, Governor of
Wisconsin, Governor of Wyoming.

Defendant(s).

COMPLAINT
Mass Torts, Racketeering Influence and Corruption Organization, Negligence, Fraud on United States of
America and its Primary Water Supply from Earth’s Core Found by Plaintiff and timed Terrorism to
Subdue Engineer of Record with HR 5736 Conspiracy per Title 18 US Code, 241 & 242.

“Conspiring to hide Primary Spring Water to US taps to Prevent Lower Water, Food, Utility, Energy and
Health Risk costs to Americans.”
Case 1:25-cv-00361-JLH Document2 Filed 03/24/25 Page 3 of 24 PagelD #: 9

Comes Now, the Plaintiff JOSEPH D. GILBERTI JR. PE, PLAINTIFF (“PLAINTIFF”) hereby sues
Defendants listed above (“Defendants”) for Terrorism against America pursuant to HR 5736 Mod of
2012, per Article 1 Section 8, Fraud, Theft, Regional Water Supply Eugenics, Racketeering, Negligence,
Quieting Title, Trespass and ejectment pursuant to Florida Statutes and in support thereof, states the

following:

Jurisdiction And Venue
1. jurisdiction of this court is invoked pursuant to (i) Article lil of the United States
Constitution, (ii) the provisions of 28 U.S.C. §1331, §1343(a)(3) and (4), §2201 and
§2202 and 41 U.S.C. §1983, and (iii) the provisions of 28 U.S.C. §1367.

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Case 1:25-cv-00361-JLH Document2 Filed 03/24/25 Page 4 of 24 PagelD #: 10

10.

Venue is proper pursuant to 28 U.S.C. § 1391.

At all material times, Defendants committed these unlawful violations under color of
state law in bad faith and with malicious purpose in reckless, wanton, and willful
disregard of Plaintiffs’ human, safety, and property rights.

The Plaintiff, Joseph D. Gilberti, P-E., is a natural person and professional engineer doing
business on approximately 2500 acres of property and mineral rights owned by Plaintiff
since 2012 in Sarasota County, Florida.

The Defendants are doing business in from Tampa to South Florida.

The Defendants, show listed Government Entities from State, Local and Federal agencies
above such as but not limited to, all of which do business in the State of Florida and
overall USA and other Nations.

Private or public traded Defendants such as but not limited to, Blackrock Corporation
LLC, CSX Transportation and Seminole Gulf Railway do business in Florida.
Defendants, Pentagon and FBI do business in the State of Florida.

This Court has jurisdiction over the parties and the subject matter hereto and a potential
bifurcating, Change in Venue and/or merging of existing and new Federal cases across
America and Florida progress which are directly related to this case.

Venue is appropriate in Palm Beach County, 15% Judicial Circuit for purposes of filing
and discovery due to an UNDUE INFLUENCE in West and South Florida on Plaintiff's
civil rights, attacks on his Children from Schools, Cops, Secret Service, FBI, US
Marshals and Sheriffs to hide the resource and deter Plaintiff from prevailing and
engineering and constructing infrastructure with Primary Water to the Taps of Florida,
New York, New Jersey and more, for over 10yrs using DOJ to attack THE PEOPLE and

their Drinking Water Supply needs, by avoiding all discovery and requested Evidentiary
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Case 1:25-cv-00361-JLH Document2 Filed 03/24/25 Page 5 of 24 PagelD #: 11

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14.

hearing with Professionals in Water Supply with a gang of Judges, Lawyers, attorney
Politicians, Universities and Cops on the payoff books to attack all Americans.

Plaintiffs bring this action pursuant 42 U.S.C. § 1983 for violations of civil rights under
the First, Fourth, and Fourteenth Amendments to the United States Constitution.

This Court has subject-matter jurisdiction over this matter pursuant to 28 U.S.C. § 1331
(federal question) and 28 U.S.C. § 1343(a\(3) (civil rights); 28 U.S.C. § 1367 provides
supplemental jurisdiction over the state law tort claims that arose from the same common
nuclei of facts.

These constitutional law violations are “capable of repetition, yet evading review.”
Roe v. Wade, 410 U.S. 113, 125 (1973) (citing Southern Pacific Terminal Co. v. ICC, 219
U. S. 498, 515 (1911), Moore v. Ogilvie, 394 U. S. 814, 816 (1969), Carroll v. Princess
Anne, 393 U. S. 175, 178-179 (1968), United States v. W. T. Grant Co., 345 U.S. 629,
632-633 (1953)).

THE ENGINEER was kidnapped timed with the FDEP SRF Marjorie Stoneman Douglas
funding application just 17 days prior to the Marjory Stoneman Douglas Shooting im Broward
where 17 were shot and 17 wounded in game tied to Smith-Mundt act where Hollywood in Los
Angeles sells stories to Government to sells Manufactured news for their Propaganda agenda to
attack other nations and now America since its Congressional approval under Obama in 2012 via
the H.R. 5736 The Smith-Mundt Modemization Act of 2012, initiated days after our World
Resource find by Tampa Central command and this Florida Enterprise of Terrorist civil servants
and Developers tied to huge Corporations like Walt Disney owners, Semimole Tribe Casinos,
Federal Reserve Bank and corrupt Judges in land grabs and cohersion on tax base grants for their

Enterprise which includes a front called 72 Partners LLC and BFSL Holdings LLC.
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Case 1:25-cv-00361-JLH Document2 Filed 03/24/25 Page 6 of 24 PagelD #: 12

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ALLEGATIONS COMMON TO ALL COUNTS

Prior to July 26, 2013, Cecil Daughtrey Jr. and Patricia A. Daughtrey (collectively
“Daughtrey”) were the owners of the entire seven parcel property. However, on July 26,
2013, Daughtrey conveyed, via properly witnessed and executed Warranty Deed, a
portion of the Property to PLAINTIFF. A true and correct copy of the Warranty Deed is
attached as EXHIBIT “A”. Since then a State and National attack by Florida Leaders
and CIA with Bush Family has taken place on Plaintiff and Americans to hide
PRIMARY WATER to TAPS of Florida for 10yrs now with a barrage of attacks to
subdue the Engineer of Record and Deed Holder while attacking Daughtrey land as they
didnt know exactly where the resource was on the forested ranch. We had to hide it on
Civil engineering plans during these Timed Terrorism attacks, fueled by all Florida
Sheriff and FBI under Title 18 Treason........ to protect our fellow Americans from
these US Terrorist Politicians and Lawyers in Florida, such as Greenberg Traurig
and Henderson Franklin and all Sarasota Lawyers (its a gang) tied to Rothschild
World Bank and a gang of Retarded Judges who lie, cheat and steal to kill children
with Cancer Rates at the tap by PLAYING STUPID ON EVIDENTIARY
HEARING and NOT ALLOWING ANY EVIDENCE while they attack with
Desantis and Yale fools for 10yrs.

The US Congress never finished Impeachment issues that disappeared in Media spot light
once a Black Harvard Terrorist President Barrack Hussain Obama and Trump replaces
the last Terrorist President tied to Harvard and Yale and Defendants with Catholic
Church filled with Pedophiles tied to Epstein list in Florida.

George W. Bush — ex President George W. Bush who was in Sarasota Classroom day of

9-11 is into Blue Gold. See Blue Gold Bush Family and has used the Carlton Family and
Unique Uode : VAA-FBH-BUAJJ-GAJJJBAUJ-IBJEJD-U Page 5 OT 101

Case 1:25-cv-00361-JLH Document2_ Filed 03/24/25 Page 7 of 24 PagelD #: 13

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72 Partners members of Notre Dame, Lee Pallardy and Cl bank/Ozark Bank Thomas
Howze to pay off Judges, Clerks and Commissioners from Tampa to South Florida and
up into Washington, Georgia and abroad to claim these underground resources and cases
are frivolous without any Court hearings or due process. They use Smith Mundt acts and
MODIFICATION in 2012 to attack Americans with the CIA and Hollywood
manufactured news with this Court and many Florida courts now starting to understand
this CIA highly trained and illegal coup against The Engineers rights to attack his clients
and lands with Sheriffs and Judges under investigation.

Bush family was one of the original Presidents who created the CIA and works with
Greenberg Traurig to control DOJ and more to attack Americans and their Water Supply
with the DOJ and fake new or combined fake and real new timed with these cases and
our permitting. The Judges avoid all due process as they are too incompetent or lazy to
allow witnesses and due process.

Bill Clinton — Ex President associated with 72 Partners LLC, and their funders via
Donnie Clark of Myakka City or Myakka Gold drug dealers. Rob Goodwin who was
partners with Donnie Clark part of the same above and show a definite connection to

Blue Gold Bush Family and Sarasota’s 9-11 connection. See Gilberti vs George W.

Bush, et al filed in New York City where THE ENGINEER now has a new project with
Blue Gold from New Jersey Washington Rock to New York to save lives as the Aqua
Ducts in New York can fail any day killing millions on file and sent to the mayors office
and over 20 Commissioners last week.

72 Partners LLC — Consist of Lee Pallardy, Thomas Howze, Kenny Harrison, and
Laurence Hall. This is the front for most of the coordination with Terrorism and is a well

known for Illegal activities, Tithe Fraud and works with Terrorism funding groups like
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Case 1:25-cv-00361-JLH Document2 Filed 03/24/25 Page 8 of 24 PagelD #: 14

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Greenberg Traurig Law and Israel Chemical/ Mosaic Phosphate or THE MOSAIC
Company.

Christopher Shaw, Esq. (Hillsborough County ex-Public Defender — Attorney who
fabricated AR-15 emails timed the Stoneman Douglas Shooting shown in Appendix
under oath, to hide the Resource with Defendants at Stoneman Douglas and Media to
attack America and this World underground Medicine Resource.

Defendant SCOTT ISRAEL (“Israel”) was at all pertinent times the Broward County
Sheriff and the decision maker AND timed the Shooting with Plaintiff's Marjorie
Stoneman Douglas SRF funding Submittal, with a massive group of media and Political
figures hiding a critical US Resource while creating Fear and Vaccinations with LIES
using the Smith-Mundt Act Modifications of 2012 and 2013, and compromised the future
careers and safety of the young DRAMA kids or students at Marjory Stoneman Douglas
High school.

Defendant SCOT PETERSON (“Peterson”) was at all pertinent times a Broward County
deputy and was specifically tasked with protecting the Plaintiffs; even it meant risking his
own life. It was and is a heroic job and one upon which people reply in the case of a life
and death emergency. He was tasked with the job to protect the children at the school
with the knowledge that he was possibly the only armed person in the immediate vicinity
of the school. His job duties required him to run towards danger at risk of life and limb,
and not to run away from danger for the sole purpose of sole-preservation. His arbitrary
and conscience-shocking actions and inactions directly and predictably caused children to
die, get injured, and get traumatized. Peterson is employed by the Broward County as a
deputy police officer in the Marjory Stoneman Douglas High school, and at all times

relevant herein was acting under the color of state law.
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Case 1:25-cv-00361-JLH Document2 Filed 03/24/25 Page 9 of 24 PagelD #: 15

24. Some Defendants were present at Marjory Stoneman Douglas High school during the
shooting , know of the timing of the US Resource to FDEP to Marjorie Stoneman
Douglas and the offer at the School Board on March 20, 2018 just after the event, by the
Defendant, of ONE MILLION DOLLARS for each shot survivor to show us your
wounds with forensics, help open this secret resource timed on your shooting by FDEP
and Florida-US Politicians and continued to hide the Resource with FDEP and Judges,
US Marshals, Police and Media, for years knowing Tap water is based on Cancer and
Viruses-Disease rates. See Gilberti vs Nikolas Cruz, et al, that has started Discovery

showing how the Judge Dimitrouleas is now under Federal

NATURE OF THE ACTION
29. This is a 42 U.S. Code § 1983 federal civil rights case under the First and Fourth
Amendments of the United States Constitution as applied to the States under the United States
Constitution’s Fourteenth Amendment for the Defendants’ individual and collective personal,
malicious, and unlawful violations under color of state law of Plaintiffs’ individual and collective
constitutional rights to free speech and protection against unreasonable search of Plaintiffs

bodies as well as state tort claims for civil conspiracy. See Gilberti_vs Pentagon, et al, in

Arlington VA, Case 21-cv-680, which in includes FBI, CIA, etc., that will include this case

evidence and discovery and others via Gilberti vs CDC. et. al, and Gilberti vs Desantis, et al,

headed to US Supreme Court for Racketeering by Florida Department of Justice, State and US
Judges, Florida Department of Law Enforcement, Florida Dept of Education & US Leaders
being paid by large foreign corporations and Greenberg Traurig to time Terrorism, using FDEP
and DOE agencies, and Global Corps after this resource with Florida Congress, US Presidents

such as but not limited to Israel Chemical LTD/Mosaic Phosphate of Florida hiding Global
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Case 1:25-cv-00361-JLH Document2 Filed 03/24/25 Page 10 of 24 PagelD #: 16

Water & Medicine Resources with EPA and Federal Reserve Board/Central Banks. This

Resource has reading never seen on Earth that affects Medicine and National Defense.

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the 2 eyes amd the face mask. 2020

Can you see

This mask has been on the $20bill since 2003 and is part of the same Smith-Mundt
Modification pattern used to subdue Engineer Gilberti with various Terrorist attacks shown in
this complaint and multiple filed related cases throughout Florida and Washington DC.

30. Defendants are working with U.S. Federal Reserve, EPA, FEMA, CDC, WHO,
Hollywood Producers, Israel Mosaic Phosphate, corrupt Judges, Court clerks, law-firms, Florida
leaders, EPA and foreign Terrorist to subdue Plaintiff who found a hidden underground Natural
resource in Medicine, Energy and Water Supply production and National Defense. Defendants
are working in a Racketeering Enterprise with Leaders, agencies and Land Developers to destroy
water supply and Americans with higher rates of Cancers, Viruses and Diseases as well as
destroying the Environment, Fish & Wildlife, Tourism, Jobs and Macroeconomic growth in

Florida, America and abroad. This unique property has Geological indicators that show
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Case 1:25-cv-00361-JLH Document2_ Filed 03/24/25 Page 11 of 24 PagelD #: 17

America how to find more in days and create millions of Jobs, new medicine and economic
sustainability.

31. Below is a diagram of major concerns by thousands of citizens who asked
Plaintiff to be the West Florida expert at Desoto County against this Enterprise and Mosaic
Phosphate and Plaintiff was approved for said expert to protect millions of Floridian and
Americans from this Enterprise.

32. Defendants committed these unlawful violations of Plaintiff's constitutional and
state rights under color of state law in bad faith and with malicious purpose in reckless, wanton,

and willful disregard of Plaintiff's human, safety, and property rights.

33. <A Judiciary without honesty has little chance of executing its moral and
constitutional duties, no matter how many rules of ethics exist. This is especially true in
America, where the judiciary is afforded wide discretion. Every decision left up to the discretion
of a judge—is a potential opportunity for corruption. Today, oil, gas, minerals, drinking water
and natural resources and their entitlements are often decided by judges making decisions
without the ability to understand the long term engineering and infrastructure affects of hiding
massive drinking water resources of the health quality. The Judges are often influenced by local
Corporations, Law-firms and bribes if the stakes are so economically high in the region, no

salary could compare to the monetary corrupt bribes or offers.
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Case 1:25-cv-00361-JLH Document2 Filed 03/24/25 Page 12 of 24 PagelD #: 18

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Figure 1 — Israel Chemical LTD/Mosaic destroy massive surface rivers used for Raw Drinking
Water Resources, Economy, Fish & Wildlife at West Florida Rivers with Phosphate mining with
Defendants and Agencies in Racketeering Enterprise to fill Cancer Centers with Treated Water vs Gilberti
Endless Alkaline spring water.

34. |The case involves the Defendants in a massive Enterprise which consist of
Judicial courts, Judges, State attorneys, public defenders, Police officers, Utility directors, water
and health agencies, hard money loan sharks, local law-firms and developers who have teamed

up against THE ENGINEER to steal a hidden underground resource which more valuable that

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Case 1:25-cv-00361-JLH Document2 Filed 03/24/25 Page 13 of 24 PagelD #: 19

Gold, in an effort to hide it and its knowledge to find more like it from THE AMERICAN
PEOPLE; and keep cancer and diseases rising in the region from Water supply being treated

from polluted rivers and corporate dumping at the Taps.

By this suit, Plaintiff seeks federal district court review of the federal and Florida

constitutionality of Defendants’ actions for both on their face and as applied, which:
(i) Deny an impartial tribunal;
(ii) | Violate United States Code, Title 4§§101 and 102;

(iii) | Violate Florida Statute §876.05(1)
(IV) CRIMES OF GENOCIDE/EUGENICS
General Assembly resolution 260 A(IID) of 9? December 1948 Entry into force:
12 January 1951, in accordance with article XTIT
Having considered the declaration made by the General Assembly of the United Nations
in its resolution 96 (I) dated 11 December 1946 that genocide is a crime under
international law, contrary to the spirit and aims of the United Nations and condemned by
the civilized world, Recognizing that at all periods of history genocide has inflicted great
losses on humanity, and being convinced that, in order to liberate mankind from such an
odious scourge, international co-operation is required, Hereby agree as hereinafter
provided:

Article I
The Contracting Parties confirm that genocide, whether committed in time of peace or

in time of war, is a crime under international law which they undertake to prevent and

to punish.

Article I

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Case 1:25-cv-00361-JLH Document2_ Filed 03/24/25 Page 14 of 24 PagelD #: 20

In the present Convention, genocide means any of the following acts committed with
intent to destroy, in whole or in part, a national, ethnical, racial or religious group, as
such:

(a) Killing members of the group;

(b) Causing serious bodily or mental harm to members of the group;

(c) Deliberately inflicting on the group conditions of life calculated to bring about its
physical destruction in whole or in part;

(d) Imposing measures intended to prevent births within the group;

(ec) Forcibly transferring children of the group to another group.

Article HI

The following acts shall be punishable:

(a) Genocide;

(b) Conspiracy to commit genocide;

(c) Direct and public incitement to commit genocide;

(d) Attempt to commit genocide;

(e) Complicity in genocide.

35. |THE ENGINEER brings this action against DEFENDANTS for a Violation of
RICO, 18 U.S.C. § 1961-1968, et seq (a), (b), (c) and (d). THE ENGINEER seeks damages
from DEFENDANTS who are working in a massive Enterprise tied to water supply eugenics
across Florida, USA and the World with the World Health Organization in MOU agreements
with the Environmental Protection Agency, FDEP in Tallahassee at the Florida Marjorie
Stoneman Douglas State Revolving Fund, 2001-2010 Florida Forever Trust Funds, ESLAPP in
Sarasota Florida, Global Cooperative Agreements of combined Environmental and Global

Healthcare sustainability crimes by essentially hiding and/or stealing secret underground critical

12
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Case 1:25-cv-00361-JLH Document2_ Filed 03/24/25 Page 15 of 24 PagelD #: 21

National Defense Resources of ‘Blue Gold.’......... or ready to drink Alkaline Spring Water from
Earth not Manmade.

36. The Defendants with other Racketeering Enterprises are manipulating the
Department of Education and Courtroom Judges, Police, Fire and University personal and
systems to subdue Appellant timed with civil cases, permitting, investment proposals to hide
critical a unique drinking water and resource 2000ft below the plaintiff's Sarasota land, verified
by third party consultants.

37. This unique resource was hidden SOyrs by NASA and EPA, to stall new energy
production resources and new science to depopulate Humanity, increase costs, pollutions, and
attack THE ENGINEER from exposing the knowledge and resource to THE PEOPLE of the
United States of American and Florida; preventing his ability to Due process in courtrooms,
taking his 1, 274, 4", 5%, 6", 8 and 14" Constitutional Amendments with multiple Judges in
multiple jurisdictions working together to hide the US Resource for foreign corps like Israel
Chemical LTD, Mosaic Phosphate and more; retroactive with the unique resource discovery. A
full blown attack on the Engineer, his clients, his family, children, bank accounts, reputation and
business has been taking place continuously from 2011 to present time, with fake AR-15 emails
created by the Tampa State Attorney office and ex-public defenders. .

38. | Defendants are attacking a National Security resource and future Blue Gold
pipeline project that produces millions in profits per day. While damaging millions of US
Citizens with lower level of service water supply from poor raw drinking water resources that are
heavily treated with chemicals vs. natural endless alkaline spring water; causing higher Cancer
Rates at the home and business taps, bottling plants, parks, schools, and more. While increasing
the possibilities of Viruses like Zika and Coronavirus, hiding answers to Vaccines, medicine

solutions, energy solutions, and new technologies by hiding secret underground critical US

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Case 1:25-cv-00361-JLH Document2 Filed 03/24/25 Page 16 of 24 PagelD #: 22

Resources such as this resource with never seen endless new Water mixtures that are unique to
Human health.
IV. FACTUAL ALLEGATIONS

39. Plaintiff is located and does business within the State of Florida and United States
of America.

40. Defendants are located and do business within the State of Florida and United
States of America.

Al. All defendants are State actors, and as such, the United States Constitution
goverms their individual and collective actions when acting on Tax payer behalf to protect the
public.

42. Defendants formal and informal policies, written or unwritten, allowed,
encouraged or enabled Defendants to violate Plaintiffs’ individual constitutional rights and
conspire to commit these constitutional violations.

43. This issue is a matter of great public concern. A Global hidden underground
Drinking Water, new Medicine and Energy Resource has been found and is being attacked by a
pool of Judges, Agency personnel, Law Firms and Court Circuits in West Florida and
Washington DC to hide this critical National Defense Resource from America for foreign owned
corporations infiltrating Florida Politicians, having a great impact upon Florida students, their
families, and Florida’s citizens.

44. Defendants retaliated against Plaintiff who was exercising his free speech rights
when Defendants in a Racketeering Enterprise to sell bottling, Cancer Centers and
Pharmaceutical medicine due to Low Level of Service drinking water supply at the tap from very

low level of Service RAW WATER RESOURCES. Defendants attacked his land in Sarasota,

14
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Case 1:25-cv-00361-JLH Document2 Filed 03/24/25 Page 17 of 24 PagelD #: 23

his family, his clients and projects when Plaintiff was whistleblowing the US Resource with
permitting submittals, mass emails, and social media posts in an effort of Redress of Grievance.

44. Defendants illegally with falsified police reports involving AR-15 death threats to
Plaintiffs 1%, 2°47, 4%, 5%, 6", 8" and 14th Amendment rights under the United States
Constitution.

45. Plaintiffs continued to suffer Defendants’ individual and collective retaliation
for voicing their concerns over this unconstitutional forced low level of service of water supply
causing higher cancer rates, diseases and viruses to millions of Americans in the West and South
Florida Regions.

46. These deprivations under color of state law are actionable under and may be
redressed by 42 U.S.C. §1983. Plaintiffs will seek their attorneys’ fees and costs under 42
U.S.C. §1988 if and when they prevail.

Y. COUNT 1 - CIVIL RIGHTS ALLEGATIONS

47. Plaintiff sent files, plans, and readings with email copies to several recipients,
local agencies, County attorneys, media and consultants, to expose this World hidden
underground Resource by attaining transparency, and properly exercising his First Amendment
rights.

48. Plaintiff's civil rights, freedom, projects, incomes were attacked by Defendants,
their court influences, Judges, local police, law firms with fake police reports, confessions and
time terrorist attacks to raise bonds timed with civil land cases to subdue him.

49. These court docket games with software turnover in other county circuits, timed
with Judges and law-firms, who are all harboring the terrorism and hiding access to secret
underground endless Oceans of unique spring to millions of Taps and Earth Science critical to

Humanity. See Timeline of Events below:

15
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Case 1:25-cv-00361-JLH Document2_ Filed 03/24/25 Page 18 of 24 PagelD #: 24

50. Below is a rough indicator of the unbelievable corruption that took place in front
of everyone while they watched in fear just like the masks for the FAKE CORONVIRUS
PANDEMIC by the same group and more.

COUNT VIM—CIVIL RICO
(Civit REMEDIES FOR CRIMINAL PRACTICES ACT)

51. This is an action for damages which exceed $15,000.00, exclusive of interest, costs and
attorney’s fees for violation of the Civil Remedies for Criminal Practices Act
(“CCFCPA”).

52. The Plaintiff re-allege the allegations contained in paragraphs 2 through 88, above, as
though the same were fully set forth herein.

53. Defendants conspired or endeavored to acquire and maintain an interest in the real
property owned by the Plaintiff, through a pattern of criminal activity or through the
collection of an unlawful debt and usage of US and State Tax base within a Fraudulent
Transfer of over 2000 acres switched out.

54. At all material times, Defendants were associated with an enterprise, which from
approximately January, 2010 through the present has functioned as a continuing unit and
has been engaged in an ongoing and continuing course of conduct with the common
purpose of obtaining an ownership or other interest in the Plaintiff land and mineral
rights, and/or for the purpose of achieving or maintaining a monopoly power on its
benefits to hide it and destroy Americans.

55. In furtherance of such goals, the enterprise engaged in a pattern of criminal activity
including, but not limited to, violations of Chapter 838, Florida Statutes, relating to
bribery and misuse of public office, and violations of §817.54, Florida Statutes, by

obtaining the Mortgage, Note and other Loan Documents and Title by false pretenses.

16
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Case 1:25-cv-00361-JLH Document2_ Filed 03/24/25 Page 19 of 24 PagelD #: 25

56. | Defendants participated and/or conspired to participate in said enterprise through a
pattern of criminal activity and/or the collection of an unlawful debt.

57. As a direct result of the foregoing, the Engineer has suffered, and is continuing to suffer,
damages.

COUNT IX —28 U.S.C. §3304 1p(A
Transfer with Intent to Hinder, Delay or Defraud a Creditor

58. The Plaintiff re-alleges the allegations contained in paragraphs 2 through 93, above, as
through the same were fully set forth herein.

59. Defendants transferred ownership interests with actual intent to hinder, delay or defraud
Plaintiff, including without limitation, the tax base used to purchase the lands in fraud to
keep treated water pumping vs filtered spring water with lower water bills and cancer
rates. Also in an effort to hide the Global medicine and water supply knowledge to desert
nations like Israel and the Middle East where Water is not available, as well as lying to
the Public on reasons for the land purchase at Sarasota parks department.

60. With respect to the Fraudulent Transfer on October 5, 2020 via Sarasota case 2011 CA
04209 NC, the following badges of fraud, among others, are applicable and are to be
considered in determining actual intent:

a. the transfer was to an insider:

b. 72 Partners LLC, its assigns of deeds, and Sarasota County retained possession or
control of property after it was transferred fraudulently.

c. No consideration was received by Plaintiff and his civil rights were attacked and
his life was attacked to insure the Defendants can hide the Regional underground
river of spring water supply.

d. The transfer occurred shortly after Plaintiff was illegally arrested with false police
reports by Defendants.

COUNT X —Fia Stat. § 726.105 (1)(a)

Transfer with Intent to Hinder, Delay or Defraud a Creditor

61. The Plaintiff re-alleges the allegations contained in paragraphs 2 through 96, above, as
through the same were fully set forth herein.

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Case 1:25-cv-00361-JLH Document2_ Filed 03/24/25 Page 20 of 24 PagelD #: 26

62. Defendants transferred ownership interests with actual intent to hinder, delay or defraud
Plaintiff, including without limitation, the tax base used to purchase the lands in fraud to
keep treated water pumping vs filtered spring water with lower water bills and cancer
rates. Also in an effort to hide the Global medicine and water supply knowledge to desert
nations like Israel and the Middle East where Water is not available, as well as lying to
the Public on reasons for the land purchase at Sarasota parks department.

63. With respect to the Fraudulent Transfer on October 5, 2020 via Sarasota case 2011 CA
04209 NC, the following badges of fraud, among others, are applicable and are to be
considered in determining actual intent:

a. the transfer was to an insider:

b. 72 Partners LLC, its assigns of deeds, and Sarasota County retained possession or
control of property after it was transferred fraudulently.

c. No consideration was received by Plaintiff and his civil rights were attacked and
his life was attacked to insure the Defendants can hide the Regional underground
river of spring water supply.

d. The transfer occurred shortly after Plaintiff was illegally arrested with false police
reports by Defendants.

e. Ryan Snyder switched out the legal description the day of the online sale, while
72 Partners and Defendants used to online bids with Defendants in a scheme with
software, with Judges in all the region, including all 2ndDCA judges who sit in a
merit panel and are locked in from being voted out for years while attacking
defendant with lower court gangs of Judges, attorney Politicians like Ron
Desantis, and defendants who are all mostly lawyers.

COUNT XI
Equitable Lien Foreclosure

64. The Plaintiff re-allege the allegations contained in paragraphs 2 through 99, above,
as through the same were fully set forth herein.

65. Defendants were paid with funds obtained through fraud or egregious conduct.

66. Defendants used over $5.5 million in tax base to invest in, purchase and or fraud and

subdue Plaintiff land, life and civil rights timed with US Terrorism acts using media to

18
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Case 1:25-cv-00361-JLH Document2 Filed 03/24/25 Page 21 of 24 PagelD #: 27

hide it and DOJ to attack Plaintiff and the global knowledge and/or regional project to the
State of Florida.

COUNT XH -28 U.S.C. § 1346
FEDERAL TORTS CLAIM ACT (FTCA)

67. The Plaintiff re-allege the allegations contained in paragraphs 2 through 102, above,

as through the same were fully set forth herein.

68. Defendants have used Federal and State funds to hide ENDLESS AND LESS
EXPENSIVE Primary Water raw drinking water resources from Tampa to Miami
and now New Jersey and New York as Plaintiff discovered another access to
Primary Water at Washington Rock in NJ to save New York $100 million/day in
cost where the drinking water is spring water and also endless without
contaminants.

69. Federal Tort Claims Act (August 2, 1946, ch. 646, Title [V, 60 Stat. 812, 28 U.S.C. Part

VI, Chapter 171 and 28 U.S.C. § 1346) ("FTCA") is a 1946 federal statute that

penmits private parties to sue the United States in a federal court for

most torts committed by persons acting on behaif of the United States.

70. Defendants stole over $5.5 million in tax base to invest in, purchase and or fraud and
subdue Plaintiff Sarasota land, life and civil rights timed with US Terrorism acts
using media to hide it and DOJ to attack Plaintiff and the global knowledge and/or

regional project to the State of Florida.

WHEREFORE, the Plaintiff demands judgment against Defendants for damages,
reasonable attorneys’ fees, costs, and such further relief as the Court may deem proper. Plaintiff

respectfully requests this Honorable Court GRANT this Complaint, enter a Judgment for full

19
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Case 1:25-cv-00361-JLH Document2 Filed 03/24/25 Page 22 of 24 PagelD #: 28

possession of the Property of the Plaintiff and quieting title and all persons claiming interest

under the Defendants; and additionally:

A.

Pursuant to 28 U.S.C. §3306 (a)(1), the avoidance of the fraudulent transfers to the
extent necessary to satisfy the loss of life from Cancer rates and loss of revenue to the
State and THE CITIZENS from higher water bills, and losses to the Plaintiff, his
project revenues when pumping over 750MGD to the public for the past 5-10 years.
Pursuant to Fla Stat. 726.108(1\a), the avoidance of the fraudulent transfers
described above and attached to the extent necessary to satisfy the disgorgement and
damages by Defendants on the Plaintiff.

Evaluate Connection agreement for Water supply with Plaintiff and Peace River
Manasota Water Supply, Lower West Coast Service Area and South Florida down to
Naples along Seminole Gulf Railway (formally owned by CSX sold and timed with
Terrorism acts with Help of BLACKROCK AND VANGUARD with Bill Gates
Canadian Railways, Amtrak and the Federal Railway Association.

Call in all continuing service civil engineers, municipal staff at Manatee, Sarasota,
Charlotte, Lee County and local utility departments and arrest all Utility staff and
directors for Treason.

Investigate and arrest Defendants involved specifically in the October 5, 2021 sale
fraud by pulling Meta data experts as well as the October 14, 2013 trial on Cecil
Daughtrey that never got notice due to E-file software being uploaded for the first
time and suddenly a trial during an Obama HP Glitch Federal shutdown on Columbus
day, while Plaintiff is attacked with fabricated emails by Hillsborough State
Attorneys office who has a long standing relationship with many of the defendants to
subdue Plaintiff timed with permits, civil actions and more.

Lockup all existing livestock and turn over full possession of livestock to Plaintiff for
sale.

Inventory all proceeds of bought and sold livestock from Defendants or others on this
property and compensate Plaintiff 3x the value of the amounts.

Call in agents from at least 25 other states from Pentagon and FBI and experts on
10yr timeline of Terrorism by Florida FBI and arrest all who knew for Conspiring

20
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Case 1:25-cv-00361-JLH Document2_ Filed 03/24/25 Page 23 of 24 PagelD #: 29

against Plaintiff and Americans with Terrorism acts involving all Florida Politicians
and Sheriffs;

Report to 50 states of Attorney Generals as cases get BIFURCATED and all Circuit
12, 13, 17 and 20 Judges get called in on GENERAL ETHICS knowing of this
Terrorism Timeline at the DOJ for 10yrs and still ongoing.

Recommend arrest for Title 18 US Code to Attorney General for all who conspired
using H.R. 5736 or other means on this underground critical knowledge that would
have saved millions of lives since the April 3, 2013 find by Plaintiff and 12 days later
the Obama — 9-11 Sarasota gang of Terrorist Lawyers-Media-FBI-CIA-Navy Seals
did the Boston Bomb with Tampa Central command, their Yale-Harvard Lawyer Ron
Desantis; the NAVY SEAL ATTORNEY TERRORIST who coordinated it with all
US CONGRESS which will be proven as this complaint as discovery proceeds.
Allow depositions to Desantis and all Judges with transcripts showing 72 Partners
and their attorneys blaming Sarasota County for the fraudulent sale that stole over
$500 billion (due to Primary Water access and land size & location with Florida
development, medicine and Port control from Tampa to Naples/Miami) in land on
October 5, 2020 with Desantis and all Florida Politicians, Trump, Biden and Media
influencing Circuit 12, 13, 17, 20, and Tampa Middle District, Florida Southern
District, showing obvious FRAUD for $187,000 sale of 2500acres while Plaintiff is
kidnapped for the 23rd time in 10yrs;

Call in Plaintiffs witnesses and allow time for discover on new lawsuits coming in
related by Plaintiffs new councils being interviewed for new case and filing.

Freeze all spending for Environmental and State Water Supply Revolving funds from
Tampa to Miami until Sarasota Commission, Florida Sheriffs and Media are detained
for US Treason and Eugenics.

Detain Ashley Moody and all Judges, State Attorneys and Law firms with Military
and FBI for Title 18 US Code 241 & 242 immediately and stop the Treachery by the
entire State of Florida Politicians, US Congress and Media.

Allow time to potentially merge case with new incoming mortgage and title fraud
case by attorneys, as well as negotiation that are pending with Plaintiff vs Carmine
Marceno-Pentagon, et al, Lee case 2022 CA 03080 NC and many others merging
with this case. The civil right attacks are from State to Federal officers.

21
Case 1:25-cv-00361-JLH Document2_ Filed 03/24/25 Page 24 of 24 PagelD #: 30

P. Testimony coming on transcripts will prove Judge Walker, in Cecil Daughtrey foreclosure
sale, Defendants and their council’s frauded America and millions of Florida tax payers
with FDEP and more with over 25 to 50 Judges in the West and South Florida region
using UNIQUE INFLUENCE on Plaintiff Rights to attack America and Water Supply in the
Region with US Congress who in-acted WAR on America on May 10, 2012, per HR 5736,
pursuant to Article 1 Section 8 of the US Constitution with the UNDUE INFLUENCE of the
Federal Reserve Banks and CDC games with a Fake Media Pandemic.

Q. Arrest George, Jeb and Marvin Bush with US Military and order a Water Pump report
and health scan to let America Realize all US Congress, DeSantis, Florida, New York to
California hid this Florida resource and Global knowledge to maintain Wars in Middle
East and World Hunger for years. Arrest all Tampa to Miami Judges who knew sheriffs for
Title 18 USC 241-242.

R. Allow a 5 Day Evidentiary Hearing on all issue immediately for the Public before another
US President gets in trouble for being a Chicken on Water Supply this Critical.

Dated this 20° day of March 2025.

Tonege Cptemus/s / ee Ghent
Joseph D. Gilberti PE
Plaintiff

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22
